Case: 3:13-cr-00134-JGC Doc #: 403 Filed: 04/22/15 1 of 2. PageID #: 3254




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                             WESTERN DIVISION



 United States of America,                                    Case No. 3:13-cr-00134-14

                       Plaintiff(s)

         -v-                                                  ORDER

 Anthony W. Wymer,


                       Defendant(s)



         This is a criminal case which was referred to United States Magistrate Judge James R.

 Knepp II for the taking, on consent of the parties, of a plea of guilty. The Magistrate Judge has

 filed his Report & Recommendation; no objection has been filed.

         I have read the transcript and reviewed the Magistrate Judge’s Report &

 Recommendation, and find that in his careful and thorough proceeding, the Magistrate Judge

 satisfied all requirements of Fed. R. Crim. P. 11 and the United States Constitution: he correctly

 found the defendant to be competent, aware of the charge and consequences of conviction and

 his rights and the waiver thereof. He also correctly found that the defendant had consented to

 proceed before the Magistrate Judge and tendered his plea of guilty knowingly, intelligently,

 and voluntarily. Finally, the Magistrate Judge also correctly found that there was an adequate

 factual basis for the plea.
Case: 3:13-cr-00134-JGC Doc #: 403 Filed: 04/22/15 2 of 2. PageID #: 3255




       On de novo review of the record and Report & Recommendation, I accept and adopt the

Magistrate Judge’s findings, and conclude that the defendant’s plea of guilty conforms to all

applicable provisions of Rule 11 and the Constitution.

       In light of those findings and that conclusion, it is hereby

       ORDERED THAT the defendant’s plea of guilty is accepted and a finding of guilty shall

be entered.

       So ordered.




                                                      s/ James G. Carr
                                                      Sr. United States District Judge
